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 PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



 AIM LEASING COMPANY, et al.,                     )
                                                  )      CASE NO. 4:14CV02161
                Plaintiffs,                       )
                                                  )
                v.                                )      JUDGE BENITA Y. PEARSON
                                                  )
 RLI CORP., et al.,                               )
                                                  )
                Defendants.                       )      ORDER [Resolving ECF No. 70]



        Pending before the Court is Defendant Harbor America East, Inc.’s (“HAE”) unopposed

 motion to dismiss without prejudice its third-party complaint against RJL Insurance Services,

 Inc. and Richard J. Leibfried (ECF No. 26), and to be dismissed from any further involvement in

 this matter. ECF No. 70. Prior to the filing of this motion, Plaintiffs voluntarily dismissed their

 claims against HAE without prejudice. ECF No. 42. Plaintiffs then filed an amended complaint.

 ECF No. 54. Each Defendant filed an answer to the amended complaint. ECF Nos. 56, 57, 58,

 and 59. Neither the amended complaint nor any of the answers assert a cause of action against

 HAE. Therefore, HAE’s only involvement in this matter is through its own third-party

 complaint, which it now seeks to dismiss.

        For these reasons, the Motion of Defendant Harbor America East, Inc. To Dismiss Its
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 (4:14CV02161)


 Third-Party Complaint and For Final Dismissal (ECF No. 70) is hereby granted.



       IT IS SO ORDERED.


 December 4, 2015                            /s/ Benita Y. Pearson
 Date                                      Benita Y. Pearson
                                           United States District Judge
